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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

 RONALD RAYBORN,                          )
                                          )
          Plaintiff,                      )
                                          )
 vs.                                      )     CIVIL ACTION
                                          )     FILE NO.: 21EV006492
 VITALIY STATSENKO,                       )
 COLUMBIA FREIGHT, LLC, and               )     DEMAND FOR JURY TRIAL
 GREAT WEST CASUALTY                      )
 COMPANY,                                 )

          Defendants.

                              NOTICE OF REMOVAL

         Defendants Vitaliy Statsenko, Columbia Freight, LLC, and Great West

Casualty Company (collectively referred to herein as "Defendants") file this Notice

of Removal showing the Court as follows:

                                        1.

         Plaintiff filed a civil action in the State Court of Fulton County, Georgia,

naming Vitaliy Statsenko, Columbia Freight, LLC, and Great West Casualty

Company as defendants. See Civil Action File No. 21EV006492 (Fulton Cnty.).

Plaintiff alleges injuries stemming from a motor vehicle accident that occurred on

July 30, 2020 on Interstate 285 westbound near the Glenridge Drive exit in Sandy

Springs, Georgia. The entire state court file is attached hereto as Exhibit “A.”

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                                        2.

         At the time the Complaint was filed, Plaintiff was a resident and citizen of

the State of Georgia. See Accident Report attached as Exhibit “B.”

                                        3.

         At the time the Complaint was filed, Defendant Columbia Freight, LLC was

a foreign limited liability company organized under the laws of the State of

Washington with its principal place of business located in Washington. Columbia

Freight is a single-member limited liability company, with Andrey Stepanyuk the

sole member. For diversity purposes, limited liability companies are deemed to be

citizens of each state in which the members of the limited liability company reside.

Stepanyuk is a citizen of the State of Washington, and therefore Columbia Freight

will be deemed to be a citizen of the State of Washington and no other state.

                                        4.

         At the time the Complaint was filed, Defendant Vitaliy Statsenko was a

resident and citizen of the State of Oregon.

                                         5.

         At the time the Complaint was filed, Great West was a corporation

incorporated under the laws of the State of Nebraska with its principal place of



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business located therein. For purposes of diversity, Great West is deemed to be a

citizen of the State of Nebraska and no other state.

                                                       6.

         In the Complaint, Plaintiff alleges that due to the motor vehicle accident he

sustained bodily injuries including a traumatic brain injury resulting in blurred

vision, vestibular dysfunction, headaches, insomnia and short-term memory loss; a

lumbar spine injury resulting in pain radiating down his left hip and leg; and the

aggravation of pre-existing cervical spine injuries resulting in pain radiating down

his right arm. Compl. ¶ 32.

                                                       7.

         Plaintiff is seeking to recover an unknown amount of special and general

damages, including damages for mental and physical pain and suffering, lost

wages, future lost income (alleged to continue to rise in the future), alleged

punitive damages, and attorneys’ fees. Id. ¶¶ 34, 35, 40.

                                                       8.

         Further, Plaintiff has demanded an amount from Defendants that far exceeds

the jurisdictional threshold of $75,000.1 See Henrikson v. Travelers Home &

Marine Ins. Co., No. 2:18-CV-75-WKW, 2018 WL 3873583, at *2 (M.D. Ala.

1
 To comply with Rule 408 of the Federal Rules of Evidence, additional discussion and correspondence evidencing
Plaintiffs' valuation of their claims are not included herein, but can be submitted to the Court for in camera review.
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Aug. 15, 2018), citing Grinnell Mut. Reinsurance Co. v. Haight, 697 F.3d 582, 585

(7th Cir. 2012) (“Although settlement negotiations are not admissible at trial

pursuant to Federal Rule of Evidence 408 to prove liability for or invalidity of the

claim or its amount, they can be considered “to show the stakes” when determining

whether the amount in controversy is met.”); see also Fed. R. Evid.

408(b) (settlement evidence may be admitted “for another purpose”).

                                         9.

          Although Plaintiff's Complaint does not specify the amount of damages that

 he is seeking, Plaintiff's Complaint does state that he has incurred medical

 expenses totaling “at least” $71,617.24, which “will continue to rise into the

 future.” Id. ¶33. This amount does not include Plaintiff’s alleged property

 damage, future medical expenses, alleged pain and suffering, claimed punitive

 damages, or claimed attorneys’ fees. Id. ¶¶ 33, 40.

                                         10.

         Based on Plaintiff’s Complaint, it is facially apparent that Plaintiff will be

seeking damages in excess of $75,000 associated with his alleged injuries

stemming from this accident. See Roe v. Michelin North America, Inc., 613 F.3d

1058 (11th Cir. 2010).



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                                           11.

         Based on Plaintiff's allegations in the Complaint, Plaintiff’s alleged injuries,

medical expenses alleged to be related to the subject incident, pain and suffering

alleged to be related to the subject incident, alleged lost wages, alleged future lost

income, and alleged property damage, the total of the alleged special and general

damages at issue in this matter exceeds the amount in controversy requirement for

removal to this court, and the jurisdictional prerequisite is therefore satisfied. There

is diversity of the parties at the time of this removal, which satisfies the remaining

requisite elements of jurisdiction and entitles Defendant to remove this action to

the United States District Court for the Northern District of Georgia, Atlanta

Division, pursuant to 28 U.S.C §§ 1332 and 1446.

                                          12.

         The foregoing action is properly removable to this Court pursuant to 28

U.S.C. § 1441(a), 28 U.S.C §§ 1446(a) and (b) and, in accordance with U.S.C. §

1332(a), there being a complete diversity of citizenship between Plaintiff and

Defendant, and the amount in controversy, exclusive of interest and costs, exceeds

the sum of $75,000.

                                          13.

         Now, within thirty days after the receipt by Defendant of the document

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indicating that the amount in controversy has been met and thus making the case

removable to this Court, notice is hereby given, in accordance with 28 U.S.C. §

1446 and pursuant to Rule 11 of the Federal Rules of Civil Procedure, of the

removal of said action to this Court.

                                        14.

         Written notice of the filing of this Notice of Removal will be given to all

parties as required by 28 U.S.C § 1446.

                                        15.

         A true and correct copy of this Notice of Removal will be filed with the

Clerk of the State Court of Fulton County, Georgia, as required by 28 U.S.C §

1446.

         WHEREFORE, Defendant prays that the above-captioned lawsuit be

removed to the United States Court for the Northern District of Georgia, Atlanta

Division.




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         Respectfully submitted, this 24th day of November, 2021.

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                                            Statsenko, Columbia Freight, LLC, and
                                            Great West Casualty Company




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                   CERTIFICATION PURSUANT TO LOCAL RULE 5.1B

         This is to certify that this Pleading was created in Times New Roman 14-

point font with a 1.5" top margin in accordance with Local Rule 5.1B.



                                               BAKER, DONELSON, BEARMAN
                                               CALDWELL & BERKOWITZ, PC

                                               /s/ Brent W. Cole
                                               BRENT W. COLE
                                               Georgia State Bar No. 294999
                                               Attorney for Defendants




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                           CERTIFICATE OF SERVICE

         This is to certify that on November 24, 2021, I served a copy of the

foregoing NOTICE OF REMOVAL with the Clerk of Court using the CM/ECF

filing system, which will automatically send email notification of such filing to the

following attorneys of record:

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